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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                      03/15/2022
                                                                       :
JOSUE ROMERO, on behalf of himself and all other                       :
similarly situated,                                                    :
                                                                       :
                                    Plaintiff,                         :     20-cv-10189 (LJL)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
ZIP TOP, LLC,                                                          :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Court was informed that the parties have reached a settlement in principle in this

case. At this time, it is hereby ORDERED that this action is DISMISSED without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within thirty (30) days of this Order. Any application to reopen filed

after thirty (30) days from the date of this Order may be denied solely on that basis. Any pending

motions are DISMISSED as moot, and all conferences and deadlines are CANCELLED.



        SO ORDERED.

Dated: March 15, 2022                                      __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
